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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

     OUTSOURCINGUNITED    STATES DISTRICT COURT
                  FACILITIES
             FOR
     ASSOCIATION   THE
                , ET    NORTHERN DISTRICT OF TEXAS
                     AL.,
                       FORT WORTH DIVISION
       Plaintiffs,
      REGINALEA KEMP,
     v.                                                No. 4:24-cv-00953-P
          Plaintiff,
     UNITED STATES FOOD AND DRUG
     Av.
      DMINISTRATION, ET AL.,
                                                       No. 4:23-cv-00841-P

      REGIONS BANK ET AL.,
       Defendants.
                                  ORDER
          Defendants.
        Before the Court is the Parties’  Joint Status Report. ECF No. 30.
                                      ORDER
     According to the Report, the Parties believe that a continued stay is
         Before the Court is Plaintiff’s Unopposed Motion for Leave to File
     appropriate as directed by this Court’s Order on October 11, 2024. ECF
      Second Amended Complaint. ECF No. 18. Having considered the Motion
     No. 29.
      and applicable docket entries, the Court GRANTS the Motion.
        The Court concludes there is good cause to continue the stay and
         SO ORDERED on this 18th day of September 2023.
     ORDERS that the Parties file a second joint status report on or before
     December 19, 2024.

          SO ORDERED on this 22nd day of November 2024.



                           ______________________________________________
                           Mark T. Pittman
                           UNITED STATES DISTRICT JUDGE
